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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION


    MONIKA TRUESDALE, individually and on                  Case No. 1:23-cv-1913
    behalf of all others similarly situated
    837 Roundview Road                                     CLASS ACTION COMPLAINT
    Brooklyn, MD 21225,
                                                           JURY TRIAL DEMANDED
                      Plaintiffs,

    v.

    PROGRESS SOFTWARE CORPORATION
    14 Oak Park Dr.
    Belford, MA 01730;

    THE JOHNS HOPKINS UNIVERSITY
    Charles & 34th Street
    Baltimore, MD 21218;

    and

    THE JOHNS HOPKINS HEALTH SYSTEM
    CORPORATION
    600 N. Wolfe Street
    Baltimore, MD 21205,

                     Defendants.


          Plaintiff Monika Truesdale (“Plaintiff”) brings this Class Action Complaint against

Progress Software Corporation (“PSC”), The Johns Hopkins University, and The Johns Hopkins

Health System Corporation1 (collectively, “Defendants”), individually and on behalf of all others

similarly situated (“Class Members”), and allege upon personal knowledge as to their own actions

and their counsel’s investigations, and upon information and belief as to all other matters, as

follows:


1
 The Johns Hopkins University and The Johns Hopkins Health System Corporation are collectively referred to as
“Johns Hopkins.”

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                                       NATURE OF THE ACTION

           1.       Plaintiff brings this class action against Defendants for their failure to properly

secure and safeguard personally identifiable information and private health information (“PII and

PHI” or “Private Information”) including, but not limited to, Plaintiff’s and Class Members’

names, Social Security numbers, birthdates, demographic information, insurance policy numbers,

and other financial information.

           2.       Defendant PSC is a Massachusetts based software company that offers a wide range

of software products and services to corporate and governmental entities throughout the United

States and the world, including cloud hosting and secure file transfer services such as MOVEit.

           3.       Defendant Johns Hopkins is a world-renowned Maryland based research university

and hospital system. Johns Hopkins utilized Defendant PSC’s MOVEit software to transfer

Personal Information, including PII and PHI of Plaintiff and Class Members.

           4.       Defendants possessed and controlled PII and PHI of thousands of students,

employees, and patients of the Johns Hopkins Defendants.

           5.       According to Johns Hopkins, John Hopkins was affected by a Data Breach that

“occurred as a result of a sophisticated cybersecurity attack targeting a vulnerability in a widely-

used software tool.”2 The software tool referenced is PSC’s MOVEit.

           6.       While Johns Hopkins did not announce who was affected by the Data Breach, they

stated that “the data breach may have impacted sensitive personal and financial information,

[including names, contact information, and health billing records.]”3

           7.       During its business operations, Defendants acquired, collected, utilized, and

derived a benefit from Plaintiff’s and Class Members’ Private Information. Therefore, Defendants


2
    https://www.jhu.edu/data-attack/
3
    Id.

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owed and otherwise assumed statutory, regulatory, contractual, and common law duties and

obligations, including to keep Plaintiff’s and Class Members’ Private Information confidential,

safe, secure, and protected from the type of unauthorized access, disclosure, and theft that occurred

in the Data Breach described below.

        8.       Despite its duties to Plaintiff and Class Members related to and arising from its

cloud hosting and secure file transfer services and applications involving MOVEit, PSC stored,

maintained, and/or hosted Plaintiff’s and Class Members’ Private Information on its MOVEit

transfer services software that was negligently and/or recklessly configured and maintained so as

to contain security vulnerabilities that resulted in multiple breaches of its network and systems or

of its customers’ networks and systems. These security vulnerabilities existed as far back as 2021.

As a result of the breach, unauthorized third-party cybercriminals gained access to and obtained

Plaintiff’s and Class Members’ PII and PHI.

        9.       On or about May 31, 2023, PSC posted a notice on its website stating that it had

found an SQL injection vulnerability in its MOVEit Transfer application dating as far back as 2021

that allowed an unauthorized third party to access Plaintiff’s and Class Member’s Private

Information (the “Data Breach”).4 PSC has not sent direct notice to those individuals such as

Plaintiff impacted by the Data Breach.

        10.      Plaintiff brings this class action lawsuit on behalf of themselves and those similarly

situated to address Defendants’ inadequate safeguarding of Class Members’ Private Information

that they collected and maintained; for failing to provide adequate notice to Plaintiff and other

Class Members that their information had been subject to the unauthorized access of an unknown


4
  MOVEit Transfer Critical Vulnerability (May 2023) (CVE-2023-34362), Progress Community,
https://community.progress.com/s/article/MOVEit-Transfer-Critical-Vulnerability-31May2023 (last visited June 22,
2023); see also Sean Lyngaas, Exclusive: US Government Agencies Hit in Global Cyberattack, CNN (June 15,
2023), https://www.cnn.com/2023/06/15/politics/us-government-hit-cybeattack/index.html.

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criminal third party; and for failing to timely identify precisely what specific type of information

was accessed.

        11.     Upon information and belief, Defendants maintained the Private Information of

millions of individuals in a negligent manner. In particular, the Private Information was maintained

on computer systems and networks that utilized MOVEit, which contained security vulnerabilities.

These security vulnerabilities led to dozens of cyberattacks, including the cyberattack that resulted

in the theft of Plaintiff’s PII and PHI.

        12.     Upon information and belief, Johns Hopkins negligently chose to utilize PSC’s

MOVEit software to store and transfer Plaintiff’s and Class Members’ PII and PHI despite the fact

that MOVEit contained security vulnerabilities.

        13.     Upon information and belief, the mechanism of the Data Breach and potential for

improper disclosure of Plaintiff’s and Class Members’ Private Information was a known risk to

Defendants because other file transfer programs had previously been subjected to criminal

hacking, and thus Defendants were on notice that failing to take appropriate design and protective

measures would expose and increase the risk that the Private Information could be compromised

and stolen.

        14.     The cyberattack at issue was carried out by the well-known Russian cybergang,

Clop.

        15.     Hackers such as Clop can and do offer for sale unencrypted, unredacted Private

Information to criminals. The exposed Private Information of Plaintiff and Class Members can,

and likely will, be sold repeatedly on the dark web.




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       16.     Plaintiff and Class Members now face a current and ongoing risk of identity theft,

which is heightened here by the loss of Social Security numbers – the gold prize for identity

thieves.

       17.     Upon information and belief, this Private Information was compromised due to

Defendants’ negligent and/or careless acts and omissions and the failure to protect the Private

Information of Plaintiff and Class Members.

       18.     When PSC’s customers use MOVEit Transfer application, they entrust PSC with

their confidential files and information, including Plaintiff and Class Members’ Private

Information, and PSC accepts responsibility for securely maintaining such Private Information.

       19.     Johns Hopkins’ students, employees, and patients entrust Johns Hopkins with their

confidential files and information, including Plaintiff and Class Members’ Private Information,

and Johns Hopkins accepts responsibility for securely maintaining such Private Information.

       20.     Defendants have not made any assurances that they have adequately enhanced their

data security practices to sufficiently safeguard from a similar vulnerability in the MOVEit

Transfer Application in the future.

       21.     While many details of the Data Breach remain in the exclusive control of

Defendants, upon information and belief, Defendants breached their duties and obligations by

failing, in one or more of the following ways: (i) failing to design, implement, monitor, and

maintain reasonable software and/or network safeguards against foreseeable threats; (ii) failing to

design, implement, and maintain reasonable data retention policies; (iii) failing to adequately train

staff on data security; (iv) failing to comply with industry-standard data security practices; (v)

failing to warn Plaintiff and Class Members of Defendants’ inadequate data security practices; (vi)

failing to encrypt or adequately encrypt the Private Information; (vii) failing to recognize or detect



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that its network had been compromised and accessed in a timely manner to mitigate the harm;

(viii) failing to utilize widely available software able to detect and prevent this type of attack, and

(ix) otherwise failing to secure the software and hardware using reasonable and effective data

security procedures free of foreseeable vulnerabilities and data security incidents.

        22.     As a result of Defendants’ unreasonable and inadequate data security practices that

resulted in the Data Breach, Plaintiff and Class Members are at a current and ongoing risk of

identity theft and have suffered numerous actual and concrete injuries and damages, including: (i)

invasion of privacy; (ii) financial “out of pocket” costs incurred mitigating the materialized risk

and imminent threat of identity theft; (iii) loss of time and loss of productivity incurred mitigating

the materialized risk and imminent threat of identity theft risk; (iv) financial “out of pocket” costs

incurred due to actual identity theft; (v) loss of time incurred due to actual identity theft; (vi) loss

of time due to increased spam and targeted marketing emails; (vii) diminution of value of their

Private Information; (viii) anxiety, annoyance, and nuisance; and (ix) the continued risk to their

Private Information, which remains in the control of Defendants, and which is subject to further

breaches, as long as Defendants fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

        23.     Plaintiff seeks to remedy these harms on behalf of himself and all similarly situated

individuals whose Private Information was accessed during the Data Breach. Plaintiff seeks

remedies including, but not limited to, compensatory damages, reimbursement of out-of-pocket

costs, future costs of identity theft monitoring, injunctive relief including improvements to

Defendants’ data security systems, and future annual audits.




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         24.     Accordingly, Plaintiff brings this action against Defendants seeking redress for

their unlawful conduct and asserting claims for: (i) negligence; (ii) breach of third-party

beneficiary contract; (iii) negligence per se; (iv) unjust enrichment; and (v) declaratory judgment.5

                                                   PARTIES

         25.     Plaintiff Monika Truesdale is, and at all times mentioned herein was, an individual

citizen of the State of Maryland.

         26.     Defendant Progress Software Corporation is a for profit corporation organized

under the laws of the State of Delaware with its principal place of business located at 15 Wayside

Road, Suite 4, Burlington, Massachusetts 01803. Service of process is proper on Corporation

Service Company as agent located at 84 State Street, Boston, Massachusetts 02109.

         27.     Defendant The Johns Hopkins University is a not for profit corporation organized

under the laws of the State of Maryland with its principal place of business located at 3400 North

Charles Street, Baltimore, Maryland 21218. Service of process is proper at the principal place of

business.

         28.     Defendant The Johns Hopkins Health System Corporation is a not for profit

corporation organized under the laws of the State of Maryland with its principal place of business

located at 600 North Wolfe Street, Baltimore, Maryland 21205. Service of process is proper on

Corporation Service Company as agent located at 7 St. Paul Street, Suite 820, Baltimore, Maryland

21202.

         29.     Defendant The Johns Hopkins Health System Corporation is a not for profit

corporation organized under the laws of the State of Maryland with its principal place of business

located at 600 North Wolfe Street, Baltimore, Maryland 21205. Service of process is proper on


5
 Plaintiff will serve notice as required under M.G.L. ch. 93A and intends to amend the Complaint to add a cause of
action under that statute.

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Corporation Service Company as agent located at 7 St. Paul Street, Suite 820, Baltimore, Maryland

21202.

                                 JURISDICTION AND VENUE

         30.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of class members exceeds 100, many of whom, including Plaintiffs,

have different citizenship from Defendants. Thus, minimal diversity exists under 28 U.S.C. §

1332(d)(2)(A).

         31.     This Court has personal jurisdiction over Defendants because they both conduct

substantial business in this jurisdiction and because Plaintiff’s claims arise out of or relate to

Defendants’ contacts with, and conduct within, this District. Further, this Court has general

jurisdiction over Defendant Johns Hopkins because their headquarters is located in this District.

         32.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District. Moreover,

Defendant Johns Hopkins is based in this District, Defendant Johns Hopkins utilized the MOVEit

transfer application in this District, Defendant Johns Hopkins provided services to Plaintiff and

obtained Plaintiff’s PII and PHI in this District, and the harm caused to Plaintiff and Class

Members emanated from this District.

                                   FACTUAL ALLEGATIONS

PSC’s Business

         33.     PSC, which is based in Burlington, Massachusetts, is a software company that

offers a wide range of products and services to government agencies and corporate entities across

the United States and around the world, including MOVEit.



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        34.      MOVEit is a “[m]anaged File Transfer and automation software that guarantees the

security of sensitive files both at-rest and in-transit, ensures reliable business processes and

addresses data security compliance requirements.6

        35.      As a condition of receiving secure file transfer services, PSC requires that its

government and corporate customers entrust it and its MOVEit transfer software application with

highly sensitive Private Information belonging to Plaintiff and Class Members.

        36.      Because of the highly sensitive nature of the Private Information that PSC acquires,

maintains, and transfers, PSC “guarantees the security of sensitive files,”7 and promises, among

other things, to: keep customers’ files private; comply with industry standards related to data

security and maintenance of its customers’ files and the Private Information contained therein;

only disclose the sensitive information for business purposes and reasons related to the services it

provides; and provide adequate notice to individuals if their Private Information is disclosed

without authorization.

        37.      By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, PSC assumed legal and equitable duties and knew or should have

known that it was responsible for ensuring the security of Plaintiff’s and Class Members’ Private

Information to protect it from unauthorized disclosure and exfiltration.

        38.      Plaintiff and Class Members relied on PSC to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this information,

which PSC failed to do.

Johns Hopkins’ Business



6
  Progress Brochure, available at https://d117h1jjiq768j.cloudfront.net/docs/default-source/default-document-
library/progress-corporate-brochure-2023-rgb.pdf?sfvrsn=a0b1f671_3 (last visited June 22, 2023).
7
  Id.

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           39.     Johns Hopkins is a world-renowned Maryland based research university and

hospital system. Johns Hopkins utilized Defendant PSC’s MOVEit software to transfer Personal

Information, including PII and PHI of Plaintiff and Class Members.

           40.     As a condition of enrolling as a student, working, or receiving health services at

Johns Hopkins, Johns Hopkins requires that individuals entrust it with highly sensitive Private

Information.

           41.     Because of the highly sensitive nature of the Private Information that Johns

Hopkins acquires, maintains on its network, and inputs into PSC’s MOVEit file transfer software,

Johns Hopkins states that “The University takes the privacy and security of our community

members extremely seriously.”8

           42.     By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, Johns Hopkins assumed legal and equitable duties and knew or

should have known that it was responsible for ensuring the security of Plaintiff’s and Class

Members’ Private Information to protect it from unauthorized disclosure and exfiltration.

           43.     Plaintiff and Class Members relied on Johns Hopkins to keep their Private

Information confidential and securely maintained and to only make authorized disclosures of this

information, which Johns Hopkins failed to do.

The Data Breach

           44.     On May 31, 2023, PSC reported a vulnerability in MOVEit Transfer and MOVEit

Cloud (CVE-2023-34362) that could lead to escalated privileges and potential unauthorized access

to the environment. Progress purportedly launched an investigation, alerted MOVEit customers of

the issue and provided mitigation steps.9


8
    https://www.jhu.edu/data-attack/
9
    https://www.progress.com/security/moveit-transfer-and-moveit-cloud-vulnerability

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        45.      PSC applied additional patches on June 9 and June 16 to purportedly address other

vulnerabilities that were discovered.10

        46.      The Russian cyber gang Clop took responsibility for the attack—which began on

May 27, 2023—and began attempts to ransom and exploit data accessed from MOVEit.11

        47.      Johns Hopkins was one of the companies whose data was accessed and stolen,

which included PII and PHI of millions of individuals, including Plaintiff and Class Members.

        48.      Johns Hopkins began informing its students, employees, and patients, including

Plaintiff and Class Members, of the Data Breach on or around June 14, 2023.

        49.      Johns Hopkins found that “the data breach may have impacted sensitive personal

and financial information, [including names, contact information, and health billing records.]”12

        50.      Defendants negligently maintained Plaintiff’s and Class Members’ Private

Information, which allowed unauthorized cybercriminals to access and exfiltrate the Private

Information through the Data Breach, including, but not limited to, Social Security numbers,

financial information, and driver’s licenses.

        51.      Defendants had obligations created by contract, industry standards, common law,

and representations made to Plaintiff and Class Members to keep Plaintiff and Class Members’

Private Information confidential and to protect them from unauthorized access and disclosure.

        52.      Plaintiff and Class Members permitted their Private Information to be provided to

Defendants with the reasonable expectation and understanding that Defendants would comply with

its obligations to keep said Private Information confidential and secure from unauthorized access

and timely notify Class Members of any security breaches.


10
   Id.
11
   https://www.bleepingcomputer.com/news/security/clop-ransomware-gang-starts-extorting-moveit-data-theft-
victims/
12
   https://www.jhu.edu/data-attack/

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        53.     Defendants’ data security obligations were particularly important given the

substantial increase in cyberattacks in recent years, including recent similar attacks against secure

file transfer companies such as Accellion and Fortra by the same Russian cyber gang, Clop.13

        54.     Therefore, because of the type of data and Private Information maintained,

Defendants knew or should have known that their systems and the records would be targeted by

cybercriminals.

Plaintiff Monika Truesdale’s Experience

        55.     Plaintiff Monika Truesdale is a former employee of and currently a patient of at

Johns Hopkins.

        56.     PSC failed to send direct notices of the Data Breach to individuals affected by the

Data Breach. However, Plaintiff received a letter from Johns Hopkins about the Data Breach dated

June 23, 2023, stating that their PII and PHI was at risk.

        57.     Plaintiff is very careful about sharing their sensitive Private Information. Plaintiff

has never knowingly transmitted unencrypted sensitive Private Information over the internet or

any other unsecured source.

        58.     Plaintiff stores any documents containing their sensitive Private Information in a

safe and secure location or destroys such documents. Moreover, Plaintiff diligently chooses unique

usernames and passwords for their various online accounts in an effort to safeguard and protect

their PII and PHI.

        59.     As a result of the Data Breach, Plaintiff has and will continue to spend time trying




13
   See Bill Toulas, Fortra Shares Findings on GoAnywher MFT Zero-Day Attacks, BleepingComputer (Apr. 19,
2023), https://www.bleepingcomputer.com/news/security/fortra-shares-findings-on-goanywhere-mft-zero-day-
attacks/; see also Ionut Ilascu, Global Accellion Data Breaches Linked to Clop Ransomware Gang,
BleepingComputer (Feb. 22, 2021), https://www.bleepingcomputer.com/news/security/global-accellion-data-
breaches-linked-to-clop-ransomware-gang/.

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to mitigate the consequences of the Data Breach. This includes time spent verifying the legitimacy

of communications related to the Data Breach, and self-monitoring their accounts and credit

reports to ensure no fraudulent activity has occurred. This time has been lost forever and cannot

be recaptured.

       60.       The harm caused to Plaintiff cannot be undone.

       61.       Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of their Private Information—a form of intangible property that Plaintiff entrusted to

Defendants, which was compromised in and as a result of the Data Breach.

       62.       Plaintiff suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach and has anxiety and increased concerns for the loss of their privacy.

       63.       Plaintiff has suffered imminent and impending injury arising from the present and

ongoing risk of fraud, identity theft, and misuse resulting from their Private Information being

placed in the hands of cybercriminals.

       64.       Future identity theft monitoring is reasonable and necessary and such services will

include future costs and expenses.

       65.       Plaintiff has a continuing interest in ensuring that their Private Information, which,

upon information and belief, remains in Defendants’ control, is protected, and safeguarded from

future breaches.

The Data Breach Was Foreseeable

       66.       At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII and PHI of Plaintiff and Class Members and the foreseeable

consequences that would occur if Defendants’ data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members because



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of a breach.

        67.      Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on their network, amounting to potentially millions of individuals’

detailed, personal information and, thus, the significant number of individuals who would be

harmed by the exposure of the unencrypted data.

        68.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”14

        69.      Defendants’ data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches preceding the date of the breach.

        70.      In 2022, 1,774 data breaches occurred, affecting approximately 392,000,000

victims.15

        71.      In light of the recent high profile cybersecurity incidents at other file transfer and

storage companies, including Accellion and Fortra, Defendants knew or should have known that

its electronic records would be targeted by cybercriminals.

        72.      Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so they

are aware of, and prepared for, a potential attack.16

        73.      Therefore, the increase in such attacks, and the attendant risk of future attacks, were

widely known to the public and to anyone in Defendants’ industry, including Defendants.

Value of PII and PHI



14
   See How to Protect Your Networks from RANSOMWARE, at 3, available at https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last accessed June 22, 2023).
15
   See 2022 Data Breach Annual Report, available at https://www.idtheftcenter.org/publication/2022-data-breach-
report/
16
   FBI, Secret Service Warn of Targeted, Law360 (Nov.18,2019),
https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-ransomware.

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         74.      Individuals’ PII and PHI remains of high value to criminals, as evidenced by the

prices offered through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.17 According to the Dark Web Price Index for

2021, payment card details for an account balance up to $1,000 have an average market value of

$150, credit card details with an account balance up to $5,000 have an average market value of

$240, stolen online banking logins with a minimum of $100 on the account have an average market

value of $40, and stolen online banking logins with a minimum of $2,000 on the account have an

average market value of $120.18 Criminals can also purchase access to entire company data

breaches from $900 to $4,500.19

         75.      Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts.

         76.      This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information…[is] worth more than 10x on the black market.”20

         77.      Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.



17
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16, 2019, available
at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/. (last accessed
June 22, 2023).
18
   Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at: https://www.privacyaffairs.com/dark-
web-price-index-2021/ (last accessed June. 22, 2023).
19
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-browsing/in-the-
dark/.
20
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT World,
(Feb. 6, 2015), available at: https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-
sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed June. 22, 2023).

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         78.     The fraudulent activity resulting from the Data Breach may not come to light for

years.

         79.     There is also a robust legitimate market for the type of sensitive information at issue

here. Marketing firms utilize personal information to target potential customers, and an entire

economy exists related to the value of personal data.

         80.     Moreover, there may be a time lag between when harm occurs versus when it is

discovered and also between when PII and PHI is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.21

         81.     As such, future monitoring of financial and personal records is reasonable and

necessary.

Defendants Failed to Properly Protect Plaintiff’s and Class Members’ Private Information

         82.     Defendants could have prevented this Data Breach by properly testing, monitoring,

auditing, securing and encrypting the systems containing the Private Information of Plaintiff and

Class Members.

         83.     Defendants’ negligence in not safeguarding the PII and PHI of Plaintiff and Class

Members is exacerbated by the repeated warnings and alerts directed to companies like Defendants

to protect and secure sensitive data they maintain.

         84.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendants failed to take appropriate steps to protect the PII and PHI of Plaintiff


21
  Report to Congressional Requesters, GAO, at 29 (June 2007), available at: https://www.gao.gov/assets/gao-07-
737.pdf (last accessed June 22, 2023).

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and Class Members from being compromised.

        85.      The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”22

        86.      The ramifications of Defendants’ failure to keep secure the PII and PHI of Plaintiff

and Class Members are long lasting and severe. Once PII and PHI is stolen, fraudulent use of that

information and damage to victims may continue for years.

        87.      To prevent and detect unauthorized cyber-attacks, Defendants could and should

have implemented, as recommended by the United States Government, the following measures:

                  •        Implement an awareness and training program. Because end users are
                           targets, employees and individuals should be aware of the threat of
                           ransomware and how it is delivered.

                  •        Enable strong spam filters to prevent phishing emails from reaching the
                           end users and authenticate inbound email using technologies like Sender
                           Policy Framework (SPF), Domain Message Authentication Reporting and
                           Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
                           prevent email spoofing.

                  •        Scan all incoming and outgoing emails to detect threats and filter
                           executable files from reaching end users.

                  •        Configure firewalls to block access to known malicious IP addresses.

                  •        Patch operating systems, software, and firmware on devices. Consider


22
   See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide for Business, FED. TRADE
COMM., https://www.ftc.gov/business-guidance/resources/fighting-identity-theft-red-flags-rule-how-guide-business
(last accessed June 22, 2023).

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                              using a centralized patch management system.

                      •       Set anti-virus and anti-malware programs to conduct regular scans
                              automatically.

                      •       Manage the use of privileged accounts based on the principle of least
                              privilege: no users should be assigned administrative access unless
                              absolutely needed; and those with a need for administrator accounts should
                              only use them when necessary.

                      •       Configure access controls—including file, directory, and network share
                              permissions—with least privilege in mind. If a user only needs to read
                              specific files, the user should not have write access to those files,
                              directories, or shares.

                      •       Disable macro scripts from office files transmitted via email. Consider
                              using Office Viewer software to open Microsoft Office files transmitted
                              via email instead of full office suite applications.

                      •       Implement Software Restriction Policies (SRP) or other controls to prevent
                              programs from executing from common ransomware locations, such as
                              temporary folders supporting popular Internet browsers or
                              compression/decompression          programs,         including         the
                              AppData/LocalAppData folder.

                      •       Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                      •       Use application whitelisting, which only allows systems to execute
                              programs known and permitted by security policy.

                      •       Execute operating system environments or specific programs in a
                              virtualized environment.

                      •       Categorize data based on organizational value and implement physical and
                              logical separation of networks and data for different organizational units.23

            88.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendants could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

             •     Update and patch your computer. Ensure your applications and operating systems
                   (OSs) have been updated with the latest patches. Vulnerable applications and OSs are


23
     Id. at 3-4.

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              the target of most ransomware attacks….

         •    Use caution with links and when entering website addresses. Be careful when
              clicking directly on links in emails, even if the sender appears to be someone you
              know. Attempt to independently verify website addresses (e.g., contact your
              organization’s helpdesk, search the internet for the sender organization’s website or
              the topic mentioned in the email). Pay attention to the website addresses you click on,
              as well as those you enter yourself. Malicious website addresses often appear almost
              identical to legitimate sites, often using a slight variation in spelling or a different
              domain (e.g., .com instead of .net)….

         •    Open email attachments with caution. Be wary of opening email attachments, even
              from senders you think you know, particularly when attachments are compressed files
              or ZIP files.

         •    Keep your personal information safe. Check a website’s security to ensure the
              information you submit is encrypted before you provide it….

         •    Verify email senders. If you are unsure whether or not an email is legitimate, try to
              verify the email’s legitimacy by contacting the sender directly. Do not click on any
              links in the email. If possible, use a previous (legitimate) email to ensure the contact
              information you have for the sender is authentic before you contact them.

         •    Inform yourself. Keep yourself informed about recent cybersecurity threats and up
              to date on ransomware techniques. You can find information about known phishing
              attacks on the Anti-Phishing Working Group website. You may also want to sign up
              for CISA product notifications, which will alert you when a new Alert, Analysis
              Report, Bulletin, Current Activity, or Tip has been published.

         •    Use and maintain preventative software programs. Install antivirus software,
              firewalls, and email filters—and keep them updated—to reduce malicious network
              traffic….24

        89.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendants could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

        Secure internet-facing assets

                  •        Apply latest security updates
                  •        Use threat and vulnerability management
                  •        Perform regular audit; remove privileged credentials

24
   See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11, 2019), available at
https://www.cisa.gov/news-events/news/protecting-against-ransomware (last accessed June 23, 2023).

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        Thoroughly investigate and remediate alerts

                •    Prioritize and treat commodity malware infections as potential full compromise

        Include IT Pros in security discussions

                •    Ensure collaboration among [security operations], [security admins], and
                     [information technology] admins to configure servers and other endpoints
                     securely

        Build credential hygiene

                •    Use [multifactor authentication] or [network level authentication] and use
                     strong, randomized, just-in-time local admin passwords

        Apply principle of least-privilege

                •    Monitor for adversarial activities
                •    Hunt for brute force attempts
                •    Monitor for cleanup of Event Logs
                •    Analyze logon events

        Harden infrastructure

                •    Use Windows Defender Firewall
                •    Enable tamper protection
                •    Enable cloud-delivered protection
                •    Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                     Office [Visual Basic for Applications]25

        90.     Moreover, given that Defendants were maintaining the PII and PHI of Plaintiff and

Class Members, Defendants could and should have implemented all the above measures to prevent

and detect cyberattacks.

        91.     The occurrence of the Data Breach indicates that Defendants failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach




25
   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-preventable-disaster/
(last accessed June 22, 2023).

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and the exposure of the PII and PHI of Plaintiff and Class Members.

        92.      Because Defendants failed to properly protect and safeguard Plaintiff’s and Class

Members’ Private Information, an unauthorized criminal third party was able to access

Defendants’ network, and access Defendants’ database and system configuration files and

exfiltrate that data.

Defendants Failed to Comply with FTC Guidelines

        93.      The FTC has promulgated numerous guides for businesses which highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision making.

        94.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the personal information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.26

        95.      The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.

        96.      The FTC further recommends that companies not maintain PII and PHI longer than

is needed for authorization of a transaction; limit access to sensitive data; require complex


26
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last accessed
June 22, 2023).


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passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify that third-party service providers have implemented reasonable

security measures.

       97.      Defendants failed to properly implement basic data security practices.

       98.       Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiff’s and Class Members’ Private Information constitutes an

unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       99.      Defendants were always fully aware of its obligation to protect the Private

Information of Plaintiff and Class Members. Defendants were also aware of the significant

repercussions that would result from its failure to do so.

Defendants Failed to Comply with Industry Standards for Data Security

       100.     In light of the numerous high-profile data breaches targeting companies like Target,

Neiman Marcus, eBay, Anthem, Deloitte, Equifax, Marriott, T-Mobile, and Capital One,

Defendants were, or reasonably should have been, aware of the importance of safeguarding PII

and PHI, as well as of the foreseeable consequences of its systems being breached.

       101.     Security standards commonly accepted among businesses that store PII and PHI

using the internet include, without limitation:

             a. Maintaining a secure firewall configuration;

             b. Monitoring for suspicious or irregular traffic to servers;

             c. Monitoring for suspicious credentials used to access servers;

             d. Monitoring for suspicious or irregular activity by known users;

             e. Monitoring for suspicious or unknown users;

             f. Monitoring for suspicious or irregular server requests;



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             g. Monitoring for server requests for PII and PHI;

             h. Monitoring for server requests from VPNs; and

             i. Monitoring for server requests from Tor exit nodes.

        102.     The FTC publishes guides for businesses for cybersecurity27 and protection of PII

and PHI28 which includes basic security standards applicable to all types of businesses.

        103.     The FTC recommends that businesses:

             a. Identify all connections to the computers where you store sensitive information.

             b. Assess the vulnerability of each connection to commonly known or reasonably
                foreseeable attacks.

             c. Do not store sensitive consumer data on any computer with an internet connection
                unless it is essential for conducting their business.

             d. Scan computers on their network to identify and profile the operating system and
                open network services. If services are not needed, they should be disabled to
                prevent hacks or other potential security problems. For example, if email service or
                an internet connection is not necessary on a certain computer, a business should
                consider closing the ports to those services on that computer to prevent
                unauthorized access to that machine.

             e. Pay particular attention to the security of their web applications—the software used
                to give information to visitors to their websites and to retrieve information from
                them. Web applications may be particularly vulnerable to a variety of hacker
                attacks.

             f. Use a firewall to protect their computers from hacker attacks while it is connected
                to a network, especially the internet.

             g. Determine whether a border firewall should be installed where the business’s
                network connects to the internet. A border firewall separates the network from the
                internet and may prevent an attacker from gaining access to a computer on the
                network where sensitive information is stored. Set access controls—settings that
                determine which devices and traffic get through the firewall—to allow only trusted
                devices with a legitimate business need to access the network. Since the protection

27
    Start with Security: A Guide for Business, FTC (June 2015), https://www.ftc.gov/system/files/documents/plain-
language/pdf0205-startwithsecurity.pdf. (last accessed June 23, 2023).
 28
    Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last accessed
June 22, 2023).

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                a firewall provides is only as effective as its access controls, they should be
                reviewed periodically.

            h. Monitor incoming traffic for signs that someone is trying to hack in. Keep an eye
               out for activity from new users, multiple log-in attempts from unknown users or
               computers, and higher-than-average traffic at unusual times of the day.

            i. Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly large
               amounts of data being transmitted from their system to an unknown user. If large
               amounts of information are being transmitted from a business’ network, the
               transmission should be investigated to make sure it is authorized.

        104.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C.

§ 45. Orders resulting from these actions further clarify the measures businesses must take to meet

their data security obligations.29

        105.    Because Defendants were entrusted with PII and PHI, they had, and have, a duty to

keep the PII and PHI secure.

        106.    Plaintiff and Class Members reasonably expect that when their PII and PHI is

provided to a sophisticated business for a specific purpose, that business will safeguard their PII

and PHI and use it only for that purpose.

        107.    Nonetheless, Defendants failed to prevent the Data Breach. Had Defendants

properly maintained and adequately protected its systems, it could have prevented the Data Breach.

        108.    Other best cybersecurity practices that are standard include installing appropriate

malware detection software; monitoring and limiting the network ports; protecting web browsers

and email management systems; setting up network systems such as firewalls, switches and


29
  Federal Trade Commission, Privacy and Security Enforcement: Press Releases, https://www.ftc.gov/news-
events/media-resources/protecting-consumer-privacy/privacy-security-enforcement.

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routers; monitoring and protection of physical security systems; protection against any possible

communication system; and training staff regarding critical points.

       109.    Defendants failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       110.    The foregoing frameworks are existing and applicable industry standards in the

software and data management/transfer industry, and Defendants failed to comply with these

accepted standards, thereby opening the door to and causing the Data Breach.

       111.    Upon information and belief, Defendants failed to comply with one or more of the

foregoing industry standards.

Defendants’ Negligent Acts and Breaches

       112.    Defendants participated and controlled the process of gathering the Private

Information from Plaintiff and Class Members.

       113.    Defendants therefore assumed and otherwise owed duties and obligations to

Plaintiff and Class Members to take reasonable measures to protect the information, including the

duty of oversight, training, instruction, and testing of the data security policies and network

systems. Defendants breached these obligations to Plaintiff and Class Members and/or was

otherwise negligent because it failed to properly implement data security systems and policies for

its network that would adequately safeguarded Plaintiff’s and Class Members’ Private

Information. Upon information and belief, Defendants’ unlawful conduct included, but is not



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limited to, one or more of the following acts and/or omissions:

           a. Failing to design and maintain an adequate data security system to reduce the risk
              of data breaches and protect Plaintiff’s and Class Members Private Information;

           b. Failing to properly monitor its data security systems for data security vulnerabilities
              and risk;

           c. Failing to audit, test and assess the adequacy of its data security system;

           d. Failing to develop adequate training programs related to the proper handling of
              emails and email security practices;

           e. Failing to put into develop and place uniform procedures and data security
              protections for its network;

           f. Failing to adequately fund and allocate resources for the adequate design, operation,
              maintenance, and updating necessary to meet industry standards for data security
              protection;

           g. Failing to ensure or otherwise require that it was compliant with FTC guidelines
              for cybersecurity;

           h. Failing to ensure or otherwise require that it was adhering to one or more of industry
              standards for cybersecurity discussed above;

           i. Failing to implement or update antivirus and malware protection software in need
              of security updating;

           j. Failing to require encryption or adequate encryption on its data systems;

           k. Otherwise negligently and unlawfully failing to safeguard Plaintiff’s and Class
              Members’ Private Information provided to Defendants, which in turn allowed
              cyberthieves to access its IT systems.

HIPAA Standards and Violations

       114.    In addition to failing to follow universal data security practices, Defendant failed

to follow healthcare industry standard security practices, including:

           a. Failing to protect against any reasonably anticipated threats or hazards to the
              security or integrity of electronic PHI in violation of 45 C.F.R. 164.306(a)(2);

           b. Failing to ensure compliance with HIPAA security standards by their workforce or
              agents in violation of 45 C.F.R 164.306(a)(94);

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           c. Failing to effectively train all members of its workforce and its agents on the
              policies and procedures with respect to PHI as necessary to maintain the security
              of PHI in violation of C.F.R. 164.530(b) and 45 C.F.R. 164.308(a)(5); and

           d. Failing to design and implement and enforce policies and procedures to establish
              administrative safeguards to reasonably safeguard PHI in compliance with 45
              C.F.R. 164.530(c).

                             COMMON INJURIES & DAMAGES

       115.    As result of Defendants’ ineffective and inadequate data security practices, Plaintiff

and Class Members now face a present and ongoing risk of fraud and identity theft.

       116.    Due to the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

injuries and damages, including: (i) invasion of privacy; (ii) “out of pocket” costs incurred

mitigating the materialized risk and imminent threat of identity theft; (iii) loss of time and loss of

productivity incurred mitigating the materialized risk and imminent threat of identity theft risk;

(iv) “out of pocket” costs incurred due to actual identity theft; (v) loss of time incurred due to

actual identity theft; (vi) loss of time due to increased spam and targeted marketing emails; (vii)

diminution of value of their Private Information; and (viii) the continued risk to their Private

Information, which remains in Defendants’ control, and which is subject to further breaches, so

long as Defendants fails to undertake appropriate and adequate measures to protect Plaintiff’s and

Class Members’ Private Information.

The Risk of Identity Theft to Plaintiff and Class Members Is Present and Ongoing

       117.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

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criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

        118.     Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        119.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are

often the starting point for these additional targeted attacks on the victims.

        120.     The dark web is an unindexed layer of the internet that requires special software or

authentication to access.30 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion.31 This prevents dark web

marketplaces from being easily monitored by authorities or accessed by those not in the know.

        121.     A sophisticated black market exists on the dark web where criminals can buy or



30
   What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-experian/what-is-the-dark-
web/. (last accessed June 22, 2023).
31
   Id.

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sell malware, firearms, drugs, and frequently, personal information like the PII and PHI at issue

here.32 The digital character of PII and PHI stolen in data breaches lends itself to dark web

transactions because it is immediately transmissible over the internet and the buyer and seller can

retain their anonymity. The sale of a firearm or drugs on the other hand requires a physical delivery

address. Nefarious actors can readily purchase usernames and passwords for online streaming

services, stolen financial information and account login credentials, and Social Security numbers,

dates of birth, and medical information.33 As Microsoft warns “[t]he anonymity of the dark web

lends itself well to those who would seek to do financial harm to others.”34

        122.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

                 A dishonest person who has your Social Security number can use it
                 to get other personal information about you. Identity thieves can use
                 your number and your good credit to apply for more credit in your
                 name. Then, they use the credit cards and don’t pay the bills, it
                 damages your credit. You may not find out that someone is using
                 your number until you’re turned down for credit, or you begin to get
                 calls from unknown creditors demanding payment for items you
                 never bought. Someone illegally using your Social Security number
                 and assuming your identity can cause a lot of problems.35

        123.     What’s more, it is no easy task to change or cancel a stolen Social Security number.



32
   What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-us/microsoft-365-life-
hacks/privacy-and-safety/what-is-the-dark-web/ (last accessed June 22, 2023).
33
   Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-experian/what-is-the-
dark-web/. (last accessed June 22, 2023).
34
   What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-us/microsoft-365-life-
hacks/privacy-and-safety/what-is-the-dark-web (last accessed June 22, 2023).
35
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf. (last accessed June 22, 2023).

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An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.36

        124.     Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.”37

        125.     Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines.38

        126.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims.39

        127.     Further, according to the same report, “rapid reporting can help law enforcement




36
   See id.
37
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015),
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-
theft (last visited June 22, 2023).
38
   Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited June 22, 2023).
39
   See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120 (last accessed June 22, 2023).

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stop fraudulent transactions before a victim loses the money for good.”40 Defendants did not

rapidly report to Plaintiff and the Class that their Private Information had been stolen.

        128.    Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

        129.    In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the

damage caused by the theft of their PII and PHI. Victims of new account identity theft will likely

have to spend time correcting fraudulent information in their credit reports and continuously

monitor their reports for future inaccuracies, close existing bank/credit accounts, open new ones,

and dispute charges with creditors.

        130.    Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII and PHI. To protect themselves, Plaintiff and

Class Members will need to remain vigilant against unauthorized data use for years or even

decades to come.

        131.    The FTC has also recognized that consumer data is a new and valuable form of

currency. In an FTC roundtable presentation, former Commissioner Pamela Jones Harbour stated

that “most consumers cannot begin to comprehend the types and amount of information collected

by businesses, or why their information may be commercially valuable. Data is currency. The

larger the data set, the greater potential for analysis and profit.”41

        132.    The FTC has also issued numerous guidelines for businesses that highlight the



40
   Id.
41
   Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring Privacy Roundtable),
http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last accessed June 22, 2023).

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importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (i)

encrypting information stored on computer networks; (ii) retaining payment card information only

as long as necessary; (iii) properly disposing of personal information that is no longer needed; (iv)

limiting administrative access to business systems; (v) using industry-tested and accepted methods

for securing data; (vi) monitoring activity on networks to uncover unapproved activity; (vii)

verifying that privacy and security features function properly; (viii) testing for common

vulnerabilities; and (ix) updating and patching third-party software.42

        133.     Defendants’ failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and PHI and take other necessary steps to mitigate

the harm caused by the Data Breach.

Loss of Time to Mitigate the Risk of Identify Theft and Fraud

        134.     As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their Private Information was compromised, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

        135.     Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

agencies, contacting financial institutions, closing or modifying financial accounts, changing


42
   See generally https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business.
(last accessed June 22, 2023).

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passwords, reviewing and monitoring credit reports and accounts for unauthorized activity, and

filing police reports, which may take years to discover and detect.

        136.     These mitigation efforts are consistent with the U.S. Government Accountability

Office that released a report in 2007 regarding data breaches (“GAO Report”) in which it noted

that victims of identity theft will face “substantial costs and time to repair the damage to their good

name and credit record.”43

        137.     These mitigation efforts are also consistent with the steps that FTC recommends

that data breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (and consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports.44

        138.     In the event that Plaintiff and Class Members experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007 regarding

data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.”45 Indeed, the FTC

recommends that identity theft victims take several steps and spend time to protect their personal

and financial information after a data breach, including contacting one of the credit bureaus to

place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their



43
   See United States Government Accountability Office, GAO-07-737, Personal Information: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown (June 2007),
https://www.gao.gov/new.items/d07737.pdf. (last accessed June 22, 2023).
44
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last accessed June 22,
2023).
45
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent
Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007, https://www.gao.gov/new.items/d07737.pdf
(last accessed June 22, 2023). (“GAO Report”).

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identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

their accounts, placing a credit freeze on their credit, and correcting their credit reports.46

Diminution of Value of the Private Information

         139.     PII and PHI is a valuable property right.47 Its value is axiomatic, considering the

value of Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that Private

Information has considerable market value.

         140.     An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion.48 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers.49,

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50.00 a year.50

         141.     As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished in its value by its unauthorized and potential release onto the Dark Web, where it may

soon be available and holds significant value for the threat actors.

Future Cost of Credit and Identify Theft Monitoring Is Reasonable and Necessary

         142.     To date, Defendants have done nothing to provide Plaintiff and Class Members


46
   See https://www.identitytheft.gov/Steps (last accessed June 22, 2023).
47
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information
(“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies
obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of traditional
financial assets.”) (citations omitted) (last accessed June 22, 2023).
48
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last accessed June 22, 2023).
49
   https://datacoup.com/. (last accessed June 22, 2023).
50
   Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html. (last accessed June 22, 2023).

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with relief for the damages they have suffered because of the Data Breach despite Plaintiff and

Class Members being at risk of identity theft and fraud for the foreseeable future.

        143.    Given the type of targeted attack in this case and sophisticated criminal activity,

the type of Private Information (e.g. social security numbers), and the modus operandi of

cybercriminals, there is a strong probability that entire batches of stolen information have been

placed, or will be placed, on the black market/dark web for sale and purchase by criminals

intending to utilize the Private Information for identity theft crimes – e.g., opening bank accounts

in the victims’ names to make purchases or to launder money; file false tax returns; take out loans

or lines of credit; or file false unemployment claims.

        144.    It must be noted there may be a substantial time lag – measured in years – between

when harm occurs versus when it is discovered, and between when Private Information and/or

financial information is stolen and when it is used. According to the U.S. Government

Accountability Office, which conducted a study regarding data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be
        held for up to a year or more before being used to commit identity theft.
        Further, once stolen data have been sold or posted on the Web, fraudulent
        use of that information may continue for years. As a result, studies that
        attempt to measure the harm resulting from data breaches cannot necessarily
        rule out all future harm.

See GAO Report, at 29.

        145.    Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that their Social Security Number was used to file for

unemployment benefits until law enforcement notifies the individual’s employer of the suspected

fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

return is rejected.

        146.    Furthermore, the information accessed and disseminated in the Data Breach is

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significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, where victims can easily cancel or close credit and debit card accounts.51 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

(such as Social Security numbers).

        147.     Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for their entire lives.

        148.     The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to protect Class Members

from the risk of identity theft that arose from Defendants’ Data Breach. This is a recurring future

cost that Plaintiff and Class Members would not need to bear but for Defendants’ failure to

safeguard their Private Information.

Injunctive Relief Is Necessary to Protect Against Future Data Breaches

        149.     Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the control of Defendants, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected.

                                  CLASS ACTION ALLEGATIONS

        150.     Plaintiff brings this nationwide class action on behalf of himself and on behalf of

others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

Civil Procedure.



51
   See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds, FORBES (Mar.
25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-security-number-costs-4-on-the-dark-
web-new-report-finds/?sh=6a44b6d513f1. (last accessed June 22, 2023).

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       151.    The “Nationwide Class” that Plaintiff seeks to represent is defined as follows:

               All persons whose Private Information was accessed or acquired
               during the Data Breach as a result of the exploitation of Progress
               Software Corporation’s MOVEit Application vulnerability (the
               “Class”).

With a “Johns Hopkins Subclass” defined as follows:

               All persons whose Private Information was maintained by Johns
               Hopkins and accessed or acquired during the Data Breach as a result
               of the exploitation of Progress Software Corporation’s MOVEit
               Application vulnerability (the “Johns Hopkins Subclass”).

       152.    Excluded from the Class are the following individuals and/or entities: Defendants

and Defendants’ parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendants has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       153.    Plaintiff reserve the right to modify or amend the definition of the proposed class

before the Court determines whether certification is appropriate.

       154.    Numerosity, Fed. R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

of all members is impracticable. Upon information and belief, there are millions of individuals

whose Private Information may have been improperly accessed in the Data Breach, and the Class

is readily identifiable within Defendants’ records.

       155.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Class exist and predominate over any questions affecting only individual Class

Members. These include:



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         a. Whether and to what extent Defendants had a duty to protect the Private Information
            of Plaintiff and Class Members;

         b. Whether Defendants had duties not to disclose the Private Information of Plaintiff
            and Class Members to unauthorized third parties;

         c. Whether Defendants had duties not to use the Private Information of Plaintiff and
            Class Members for non-business purposes;

         d. Whether Defendants failed to adequately safeguard the Private Information of
            Plaintiff and Class Members;

         e. Whether and when Defendants actually learned of the Data Breach;

         f. Whether Defendants adequately, promptly, and accurately informed Plaintiff and
            Class Members that their PII and PHI had been compromised;

         g. Whether Defendants violated the law by failing to promptly notify Plaintiff and Class
            Members that their PII and PHI had been compromised;

         h. Whether Defendants failed to implement and maintain reasonable security
            procedures and practices appropriate to the nature and scope of the information
            compromised in the Data Breach;

         i. Whether Defendants adequately addressed and fixed the vulnerabilities which
            permitted the Data Breach to occur;

         j. Whether Defendants engaged in unfair, unlawful, or deceptive practices by failing to
            safeguard the Private Information of Plaintiff and Class Members;

         k. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or
            nominal damages as a result of Defendants’ wrongful conduct;

         l. Whether Plaintiff and Class Members are entitled to restitution as a result of
            Defendants’ wrongful conduct; and

         m. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the
            imminent and currently ongoing harm faced as a result of the Data Breach.

       156.   Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their Private Information compromised as a result of the Data

Breach, due to Defendants’ misfeasance.

       157.   Predominance. Defendants have engaged in a common course of conduct toward

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Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was maintained

and unlawfully accessed in the same way. The common issues arising from Defendants’ conduct

affecting Class Members set out above predominate over any individualized issues. Adjudication

of these common issues in a single action has important and desirable advantages of judicial

economy. Defendants’ policies challenged herein apply to and affect Class Members uniformly

and Plaintiff’s challenge of these policies hinges on Defendants’ conduct with respect to the Class

as a whole, not on facts or law applicable only to Plaintiff.

       158.    Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and

adequately represent and protect the interests of the Class Members in that Plaintiff has no

disabling conflicts of interest that would be antagonistic to those of the other Members of the Class.

Plaintiff seeks no relief that is antagonistic or adverse to the Members of the Class and the

infringement of the rights and the damages Plaintiff have suffered are typical of other Class

Members. Plaintiff have also retained counsel experienced in complex class action litigation, and

Plaintiff intend to prosecute this action vigorously.

       159.    Superiority, Fed. R. Civ. P. 23(b)(3): Class litigation is an appropriate method for

fair and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendants. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically



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impractical and impose a burden on the courts.

       160.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendants would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiff were exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       161.    The litigation of the claims brought herein is manageable. Defendants’ uniform

conduct, including its privacy policy, uniform methods of data collection, the consistent provisions

of the relevant laws, and the ascertainable identities of Class Members demonstrates that there

would be no significant manageability problems with prosecuting this lawsuit as a class action.

       162.    Adequate notice can be given to Class Members directly using information

maintained in Defendants’ records.

       163.    Unless a Class-wide injunction is issued, Defendants may continue in its failure to

properly secure the Private Information of Class Members, Defendants may continue to refuse to

provide proper notification to Class Members regarding the Data Breach, and Defendants may

continue to act unlawfully as set forth in this Petition.

       164.    Further, Defendants have acted or refused to act on grounds generally applicable to

the Classes and, accordingly, class certification, injunctive relief, and corresponding declaratory



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relief are appropriate on a Class-wide basis.

       165.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

           a. Whether Defendants owed a legal duty to Plaintiff and Class Members to exercise
              due care in obtaining, storing, collecting, maintaining, using, and/or safeguarding
              their Private Information;

           b. Whether Defendants breached a legal duty to Plaintiff and Class Members to
              exercise due care in obtaining, storing, collecting, maintaining, using, and/or
              safeguarding their Private Information;

           c. Whether Defendants failed to comply with its own policies and applicable laws,
              regulations, and industry standards relating to data security;

           d. Whether Defendants adequately and accurately informed Plaintiff and Class
              Members that their Private Information had been compromised;

           e. Whether Defendants failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;

           f. Whether Defendants’ data security practices related to its MOVEit Application
              prior to and during the Data Breach complied with applicable data security laws
              and regulations;

           g. Whether Defendants’ data security practices related to its MOVEit Application
              prior to and during the Data Breach were consistent with industry standards;

           h. Whether hackers obtained Class Members’ Private Information via the Data
              Breach;

           i. Whether Defendants breached its duty to provide timely and accurate notice of the
              Data Breach to Plaintiff and Class Members; and

           j. Whether Class Members are entitled to actual, consequential, and/or nominal
              damages, and/or injunctive relief as a result of Defendants’ wrongful conduct.

                                     CAUSES OF ACTION



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                                          COUNT I
                                       NEGLIGENCE
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       166.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       167.     Defendants knowingly collected, acquired, stored, and/or maintained Plaintiff’s

and Class Members’ Private Information, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting the Private Information from being disclosed,

compromised, lost, stolen, and misused by unauthorized parties.

       168.     The duty included obligations to take reasonable steps to prevent disclosure of the

Private Information, and to safeguard the information from theft. Defendants’ duties included the

responsibility to design, implement, and monitor data security systems, policies, and processes to

protect against reasonably foreseeable data breaches such as this Data Breach.

       169.     Defendants owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, policies, and procedures, and the personnel responsible for them,

adequately protected the Private Information.

       170.     Defendants owed a duty of care to safeguard the Private Information due to the

foreseeable risk of a data breach and the severe consequences that would result from its failure to

so safeguard the Private Information.

       171.     Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and those individuals who entrusted them

with their PII and PHI, which is recognized by laws and regulations including but not limited the

FTC Act, as well as common law. Defendants was in a position to ensure that its systems were



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sufficient to protect against the foreseeable risk of harm to Class Members from a data breach.

          172.   In addition, Defendants had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

          173.   Defendants’ duty to use reasonable care in protecting Private Information arose not

only as a result of the statutes and regulations described above, but also because Defendants is

bound by industry standards to protect Private Information that it either acquires, maintains, or

stores.

          174.   Defendants breached their duties, and thus were negligent, by failing to use

reasonable measures to protect Plaintiff’s and Class Members’ Private Information, as alleged and

discussed above.

          175.   It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Plaintiff and Class Members.

Further, the breach of security was reasonably foreseeable given the known high frequency of

cyberattacks and data breaches in the data transfer and storage industry.

          176.   It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.

          177.   The imposition of a duty of care on Defendants to safeguard the Private Information

they maintained is appropriate because any social utility of Defendants’ conduct is outweighed by

the injuries suffered by Plaintiff and Class Members as a result of the Data Breach.

          178.   As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members



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sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of

time and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (iv) financial “out of pocket” costs incurred due to actual identity theft; (v) loss

of time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their Private Information; (viii) future costs of

identity theft monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their

Private Information, which remains in Defendants’ control, and which is subject to further

breaches, so long as Defendants fail to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

        179.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        180.    Defendants’ negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and unsecure manner.

        181.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to (i) strengthen their data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                          COUNT II
               BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
           (On Behalf of Plaintiff and All Class Members Against Defendant PSC)

        182.    Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

        183.    Upon information and belief, PSC entered into contracts with its government and



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corporate customers to provide secure file transfer services to them; services that included data

security practices, procedures, and protocols sufficient to safeguard the Private Information that

was entrusted to it.

       184.    Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendants agreed to receive, store, utilize, transfer, and protect

through its services. Thus, the benefit of collection and protection of the Private Information

belonging to Plaintiff and the Class was the direct and primary objective of the contracting parties

and Plaintiff and Class Members were direct and express beneficiaries of such contracts.

       185.    Defendants knew or should have known that if it were to breach these contracts

with its customers, Plaintiff and Class Members would be harmed.

       186.    Defendants breached their contracts with customers by, among other things, failing

to adequately secure Plaintiff and Class Members’ Private Information, and, as a result, Plaintiff

and Class Members were harmed by Defendants’ failure to secure their Private Information.

       187.    As a direct and proximate result of Defendants’ breach, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained incidental and consequential damages including: (i) financial “out of pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iii) financial “out of pocket” costs incurred due to actual identity theft; (iv) loss of time

incurred due to actual identity theft; (v) loss of time due to increased spam and targeted marketing

emails; (vi) diminution of value of their Private Information; (vii) future costs of identity theft

monitoring; (viii) and the continued risk to their Private Information, which remains in

Defendants’ control, and which is subject to further breaches, so long as Defendants fails to



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undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

       188.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       189.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                       COUNT III
                                BREACH OF CONTRACT
  (On Behalf of Plaintiff and Johns Hopkins Subclass Members Against Defendant Johns
                                        Hopkins)

       190.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       191.     Upon information and belief, Johns Hopkins entered into contracts with its

students, employees, and patients; such contracts included data security practices, procedures, and

protocols sufficient to safeguard the Private Information that was entrusted to it.

       192.     Plaintiff and Class members were parties to such contracts, as it was their Private

Information that Johns Hopkins agreed to receive, store, utilize, transfer, and protect through its

services. Thus, the benefit of collection and protection of the Private Information belonging to

Plaintiff and the Class was the direct and primary objective of the contracting parties.

       193.     Johns Hopkins knew or should have known that if it were to breach these contracts

with its customers, Plaintiff and Class Members would be harmed.

       194.     Johns Hopkins breached their contracts with customers by, among other things,

failing to adequately secure Plaintiff and Class Members’ Private Information, and, as a result,

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Plaintiff and Class Members were harmed by Johns Hopkins’ failure to secure their Private

Information.

       195.     As a direct and proximate result of Johns Hopkins’ breach, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained incidental and consequential damages including: (i) financial “out of pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iii) financial “out of pocket” costs incurred due to actual identity theft; (iv) loss of time

incurred due to actual identity theft; (v) loss of time due to increased spam and targeted marketing

emails; (vi) diminution of value of their Private Information; (vii) future costs of identity theft

monitoring; (viii) and the continued risk to their Private Information, which remains in Johns

Hopkins’ control, and which is subject to further breaches, so long as Defendants fails to undertake

appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private Information.

       196.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       197.     Plaintiff and Class Members are also entitled to injunctive relief requiring Johns

Hopkins to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                         COUNT IV
                                   NEGLIGENCE PER SE
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       198.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.



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        199.    Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendants had a duty to

provide fair and adequate computer systems and data security practices to safeguard Plaintiff’s and

Class Members’ Private Information.

        200.    Defendants breached their duties to Plaintiff and Class Members under the FTC

Act by failing to provide fair, reasonable, or adequate computer systems and data security practices

to safeguard Plaintiff’s and Class Members’ Private Information.

        201.    Defendants’ failure to comply with applicable laws and regulations constitutes

negligence per se.

        202.    But for Defendants’ wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

        203.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendants’ breach of their duties. Defendants knew or should have known

that it was failing to meet its duties, and that Defendants’ breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

        204.    As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of

time and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (iv) financial “out of pocket” costs incurred due to actual identity theft; (v) loss

of time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their Private Information; (viii) future costs of



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identity theft monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their

Private Information, which remains in Defendants’ control, and which is subject to further

breaches, so long as Defendants fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

       205.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       206.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                          COUNT V
                                  UNJUST ENRICHMENT
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       207.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       208.     Plaintiff and Class Members conferred a monetary benefit on Defendants by

providing Defendants with their valuable Private Information.

       209.     Defendants enriched themselves by saving the costs they reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ Private Information,

which cost savings increased the profitability of the services.

       210.     Upon information and belief, instead of providing a reasonable level of security

that would have prevented the Data Breach, Defendants instead calculated to avoid its data security

obligations at the expense of Plaintiff and Class Members by utilizing cheaper, ineffective security

measures. Plaintiff and Class Members, on the other hand, suffered as a direct and proximate result



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of Defendants’ failure to provide the requisite security.

        211.    Under the principles of equity and good conscience, Defendants should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendants failed to implement appropriate data management and security measures that

are mandated by industry standards.

        212.    Defendants acquired the monetary benefit, PII and PHI, through inequitable means

in that it failed to disclose the inadequate security practices previously alleged.

        213.    Had Plaintiff and Class Members known that Defendants had not secured their PII

and PHI, they would not have agreed to provide their PII and PHI to Defendants. Plaintiff and

Class Members have no adequate remedy at law.

        214.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        215.    Furthermore, as a direct and proximate result of Defendants’ unreasonable and

inadequate data security practices, Plaintiff and Class Members are at a current and ongoing risk

of identity theft and have sustained incidental and consequential damages, including: (i) financial

“out of pocket” costs incurred mitigating the materialized risk and imminent threat of identity theft;

(ii) loss of time and loss of productivity incurred mitigating the materialized risk and imminent

threat of identity theft risk; (iii) financial “out of pocket” costs incurred due to actual identity theft;

(iv) loss of time incurred due to actual identity theft; (v) loss of time due to increased spam and

targeted marketing emails; (vi) diminution of value of their Private Information; (vii) future costs

of identity theft monitoring; and (viii) the continued risk to their Private Information, which

remains in Defendants’ control, and which is subject to further breaches, so long as Defendants

fails to undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’



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Private Information.

       216.     Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       217.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

       218.     Moreover, Defendants should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received

from them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiff

and Class Members overpaid for Defendants’ services.

                                   COUNT VI
                        DECLARATORY AND INJUNCTIVE RELIEF

       219.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       220.     Plaintiff pursues this claim under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201.

       221.     Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and granting

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal statutes described in this Complaint.

       222.     An actual controversy has arisen in the wake of the Data Breach regarding

Defendants’ present and prospective common law and other duties to reasonably safeguard

Plaintiff’s and Class Members’ Private Information, and whether Defendants is currently

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maintaining data security measures adequate to protect Plaintiff and Class Members from future

data breaches that compromise their Private Information. Plaintiff and the Class remain at

imminent risk that further compromises of their Private Information will occur in the future.

       223.    The Court should also issue prospective injunctive relief requiring Defendants to

employ adequate security practices consistent with law and industry standards to protect Plaintiff’s

and Class Members’ Private Information.

       224.    Defendants still controls the Private Information of Plaintiff and the Class

Members.

       225.    To Plaintiff’s knowledge, Defendants has made no announcement that it has

changed its data or security practices relating to the Private Information.

       226.    To Plaintiff’s knowledge, Defendants has made no announcement or notification

that it has remedied the vulnerabilities and negligent data security practices that led to the Data

Breach.

       227.    If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the event of another data breach at PSC. The risk of another

such breach is real, immediate, and substantial.

       228.    As described above, actual harm has arisen in the wake of the Data Breach

regarding Defendants’ contractual obligations and duties of care to provide security measures to

Plaintiff and Class Members. Further, Plaintiff and Class members are at risk of additional or

further harm due to the exposure of their Private Information and Defendants’ failure to address

the security failings that led to such exposure.

       229.    There is no reason to believe that Defendants’ employee training and security

measures are any more adequate now than they were before the breach to meet Defendants’



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contractual obligations and legal duties.

       230.    The hardship to Plaintiff and Class Members if an injunction does not issue exceeds

the hardship to Defendants if an injunction is issued. Among other things, if another data breach

occurs at PSC, Plaintiff and Class Members will likely continue to be subjected to fraud, identify

theft, and other harms described herein. On the other hand, the cost to Defendants of complying

with an injunction by employing reasonable prospective data security measures is relatively

minimal, and Defendants has a pre-existing legal obligation to employ such measures.

       231.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach PSC, thus

eliminating the additional injuries that would result to Plaintiff and Class.

       232.    Plaintiff and Class Members seek a declaration (i) that Defendants’ existing data

security measures do not comply with its contractual obligations and duties of care to provide

adequate data security; and (ii) that to comply with its contractual obligations and duties of care,

Defendants must implement and maintain reasonable security measures, including, but not limited

to, the following:

         a. engage internal security personnel to conduct testing, including audits on Defendants’
            systems, on a periodic basis, and promptly correct any problems or issues detected
            by such third-party security auditors;

         b. engage third-party security auditors and internal personnel to run automated security
            monitoring;

         c. audit, test, and train its security personnel and employees regarding any new or
            modified data security policies and procedures;

         d. purge, delete, and destroy, in a reasonably secure manner, any Private Information
            not necessary for its provision of services;

         e. conduct regular database scanning and security checks; and

         f. routinely and continually conduct internal training and education to inform internal

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             security personnel and employees how to safely share and maintain highly sensitive
             personal information, including but not limited to, PII and PHI.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of himself and Class Members, request judgment

against Defendants and that the Court grant the following:

       A.      For an Order certifying the Class, and appointing Plaintiff and their Counsel to

               represent the Class;

       B.      For equitable relief enjoining Defendants from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of the PII and PHI

               of Plaintiff and Class Members, and from refusing to issue prompt, complete, any

               accurate disclosures to Plaintiff and Class Members;

       C.      For injunctive relief requested by Plaintiffs, including, but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and

               Class Members, including but not limited to an order:

               i.   prohibiting Defendants from engaging in the wrongful and unlawful acts

                    described herein;

              ii.   requiring Defendants to protect, including through encryption, all data collected

                    through the course of its business in accordance with all applicable regulations,

                    industry standards, and federal, state or local laws;

             iii.   requiring Defendants to delete, destroy, and purge the personal identifying

                    information of Plaintiff and Class Members unless Defendants can provide to

                    the Court reasonable justification for the retention and use of such information

                    when weighed against the privacy interests of Plaintiff and Class Members;

             iv.    requiring Defendants to implement and maintain a comprehensive Information

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          Security Program designed to protect the confidentiality and integrity of the PII

          and PHI of Plaintiff and Class Members;

    v.    requiring   Defendants     to        engage   independent   third-party   security

          auditors/penetration testers as well as internal security personnel to conduct

          testing, including simulated attacks, penetration tests, and audits on

          Defendants’ systems on a periodic basis, and ordering Defendants to promptly

          correct any problems or issues detected by such third-party security auditors;

   vi.    requiring Defendants to engage independent third-party security auditors and

          internal personnel to run automated security monitoring;

  vii.    requiring Defendants to audit, test, and train its security personnel regarding

          any new or modified procedures;

  viii.   requiring Defendants to segment data by, among other things, creating firewalls

          and access controls so that if one area of Defendants’ network is compromised,

          hackers cannot gain access to other portions of Defendants’ systems;

   ix.    requiring Defendants to conduct regular database scanning and securing

          checks;

    x.    requiring Defendants to establish an information security training program that

          includes at least annual information security training for all employees, with

          additional training to be provided as appropriate based upon the employees’

          respective responsibilities with handling personal identifying information, as

          well as protecting the personal identifying information of Plaintiff and Class

          Members;

   xi.    requiring Defendants to routinely and continually conduct internal training and



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          education, and on an annual basis to inform internal security personnel how to

          identify and contain a breach when it occurs and what to do in response to a

          breach;

  xii.    requiring Defendants to implement a system of tests to assess its respective

          employees’ knowledge of the education programs discussed in the preceding

          subparagraphs, as well as randomly and periodically testing employees

          compliance with Defendants’ policies, programs, and systems for protecting

          personal identifying information;

  xiii.   requiring Defendants to implement, maintain, regularly review, and revise as

          necessary a threat management program designed to appropriately monitor

          Defendants’ information networks for threats, both internal and external, and

          assess whether monitoring tools are appropriately configured, tested, and

          updated;

  xiv.    requiring Defendants to meaningfully educate all Class Members about the

          threats that they face as a result of the loss of their confidential personal

          identifying information to third parties, as well as the steps affected individuals

          must take to protect themselves;

   xv.    requiring Defendants to implement logging and monitoring programs sufficient

          to track traffic to and from Defendants’ servers; and for a period of 10 years,

          appointing a qualified and independent third party assessor to conduct a SOC 2

          Type 2 attestation on an annual basis to evaluate Defendants’ compliance with

          the terms of the Court’s final judgment, to provide such report to the Court and

          to counsel for the class, and to report any deficiencies with compliance of the



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        Court’s final judgment;

D.   For an award of damages, including, but not limited to, actual, consequential, and

     nominal damages, as allowed by law in an amount to be determined;

E.   For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

F.   For prejudgment interest on all amounts awarded; and

G.   Such other and further relief as this Court may deem just and proper.




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                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demand that this matter be tried before a jury.



Dated: July 17, 2023                                Respectfully submitted,

                                                    /s/ Courtney L. Weiner
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                                                     *Pro Hac Vice Application forthcoming

                                                     Counsel for Plaintiff and the Putative Class




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Today's Date: 7/18/2023
Source: U.S. District Court, District of Maryland (Baltimore)

Court:                                     U.S. District Court, District of Maryland (Baltimore)
Case Title:                                Truesdale v. Progress Software Corporation et al
Case:                                      1:23-CV-01913
Judge:                                     Judge Lydia Kay Griggsby
Date Filed:                                07/17/2023

CASE INFORMATION
Case Number:                               1:23CV01913
Jury Demand:                               Plaintiff
Nature of Suit:                            Real Property: All Other Real Property (290)
Jurisdiction:                              Diversity
Cause:                                     28 USC 1332 Diversity-Other Contract
Lead Docket:                               1:23-CV-01826

PARTICIPANT INFORMATION


 Monika Truesdale

Party Description:                         individually and on behalf of all others similarly situated
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 Progress Software Corporation

Type:                                      Defendant



 The Johns Hopkins Health System Corporation

Type:                                      Defendant




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TRUESDALE v. PROGRESS SOFTWARE CORPORATION et al, 1:23CV01913 (2023)




 The Johns Hopkins University

Type:                                   Defendant

CALENDAR INFORMATION
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DOCKET PROCEEDINGS (1)
Entry #:          Date:            Description:
1                 07/17/2023       COMPLAINT Class Action                     View     Add to request
                                   Complaint against All
                                   Defendants ( Filing fee
                                   $ 402 receipt number
                                   AMDDC-10712386.), filed
                                   by MOINKA TRUESDALE.
                                   (Attachments: # 1 Summons,
                                   # 2 Summons, # 3 Summons,
                                   # 4 Civil Cover Sheet)(Weiner,
                                   Courtney) (Entered: 07/17/2023)

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